              Case 23-90911-AKM-11                    Doc 1       Filed 09/19/23             EOD 09/19/23 13:01:16                Pg 1 of 52


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                IQPack LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  300 Missouri Avenue, Suite 101
                                  Jeffersonville, IN 47130
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                         Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://iqpackglobal.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
              Case 23-90911-AKM-11                          Doc 1      Filed 09/19/23              EOD 09/19/23 13:01:16                       Pg 2 of 52
Debtor    IQPack LLC                                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
              Case 23-90911-AKM-11                             Doc 1     Filed 09/19/23             EOD 09/19/23 13:01:16                    Pg 3 of 52
Debtor    IQPack LLC                                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                        1-49                                           1,000-5,000                                25,001-50,000
                                        50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             Case 23-90911-AKM-11          Doc 1      Filed 09/19/23         EOD 09/19/23 13:01:16                 Pg 4 of 52
Debtor   IQPack LLC                                                              Case number (if known)
         Name

                         $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                         $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                         $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
             Case 23-90911-AKM-11                     Doc 1         Filed 09/19/23            EOD 09/19/23 13:01:16                   Pg 5 of 52
Debtor    IQPack LLC                                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 19, 2023
                                                  MM / DD / YYYY


                             X /s/ Kenny A. Rohleder                                                      Kenny A. Rohleder
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member/President




18. Signature of attorney    X /s/ April A. Wimberg                                                        Date September 19, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 April A. Wimberg
                                 Printed name

                                 Dentons Bingham Greenebaum
                                 Firm name

                                 3500 PNC Tower
                                 101 South Fifth Street
                                 Louisville, KY 40202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (502) 587-3719                Email address      april.wimberg@dentons.com

                                 95741 KY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         IQPack LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 19, 2023              X /s/ Kenny A. Rohleder
                                                           Signature of individual signing on behalf of debtor

                                                            Kenny A. Rohleder
                                                            Printed name

                                                            Member/President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case 23-90911-AKM-11                 Doc 1         Filed 09/19/23              EOD 09/19/23 13:01:16                           Pg 7 of 52


Fill in this information to identify the case:
Debtor name IQPack LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA                                                                    Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
American                  Sammi Powers                                                                                                                            $9,115.00
Arbitration
Association               SammiPowers@AD
120 Broadway 21st         R.org
Floor
New York, NY 10271
Buckeye Packaging         Kelli Phillips            Goods provided                                                                                                $4,589.50
Co, Inc.                                            under agreement
12223 Marlboro Ave        kelli.phillips@buck
Alliance, OH 44601        eyepackaging.com
                          (800) 860-2247
Chase                                               Credit Card                                                                                                 $47,138.20
543 Fifth Avenue
New York, NY 10017
CMC America          Craig Hall                                                                                                                                 $12,652.00
101 Woodwinds
Industrial Ct, Ste T craig.hall@cmcam
Cary, NC 27511-6202 erica.net
                     (919) 650-3985
Commercial                                                                                                                                                        $6,667.18
Logistics            cory@csgrealestat
Corporation          e.com
d/b/a Cornerstone
LLC
PO Box 766
Jeffersonville, IN
47131
Custom Kraft Pack    James Koller                   Goods provided                                                                                                $6,733.87
100 Technology                                      under agreement
Way Docks 2 & 3      james@customkraf
Jeffersonville, IN   tpack.com
47130                (502)544-3860
Dentons Bingham                                     Professional                                                                                                  $8,250.00
Greenebaum LLP                                      services
3500 PNC Tower
101 South Fifth
Street
Louisville, KY 40202

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     IQPack LLC                                                                               Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Felins                                                                                                                                                          $16,754.91
W204N13055                accountsreceivable
Goldendale Rd Suite       @felins.com
400                       (414) 355-7747
Richfield, WI 53076
LADDAWN                   Paula Costa               Goods provided                                                                                              $32,528.87
PO Box 633485                                       under agreement
Cincinnati, OH            pcosta@laddawn.c
45263                     om
                          (978) 563-6194
nVENIA                    Robert Triol                                                                                                                            $1,467.07
PO box 71948
Chicago, IL 60694         Support@supportp
                          ro.pro
                          (847) 678-4071
OBSA Operating                                                                Disputed                                                                        $861,682.95
Company, LLC              psinner@vogellaw.
13300 Pioneer Trl         com
Eden Prairie, MN
55347
Pregis                    Irma Cervantes                                                                                                                        $59,785.60
29690 Network
Place                     icervantes@pregis.
Chicago, IL               com
60673-1295                (574)-935-6191
Sitma Stretch Film        Davon Lawrence                                                                                                                        $61,550.25
PO Box 827627
34th Ave. S               davon.lawrence@s
Philadelphia, PA          igmaplastics.com
19182                     (888) 826-2224
Sitma USA, Inc.                                                                                                                                                 $49,454.25
8011 34th Avenue          davon.lawrence@s
South                     igmaplastics.com
Suite 436
Minneapolis, MN
55425
Strothman                                   Professional                                                                                                        $10,380.00
325 Wst Main Street,      jjones@strothman. services provided
Suite 1600                com               under agreement
Louisville, KY 40202




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Fill in this information to identify the case:

 Debtor name            IQPack LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       1,118,429.21

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       1,118,429.21


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         450,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          43,852.24

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       1,905,820.36


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,399,672.60




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name          IQPack LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Account 8128                                      Checking                              8128                                  $54,675.62



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                    $54,675.62
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposits - Commercial Logistics Corporation d/b/a Cornerstone                                                         $6,462.92



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                                     $6,462.92
           Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                     page 1
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Debtor       IQPack LLC                                                                      Case number (If known)
             Name



Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

    No. Go to Part 4.
    Yes Fill in the information below.
11.       Accounts receivable
          11a. 90 days old or less:                     41,124.84       -                                   0.00 = ....                  $41,124.84
                                       face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                           $41,124.84
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                               Net book value of         Valuation method used    Current value of
                                                                            debtor's interest         for current value        debtor's interest
                                                                            (Where available)

39.       Office furniture
          Furniture and Equipment                                                    $17,500.00                                          $17,500.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Software                                                                 $507,665.83                                          $507,665.83



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 2
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Debtor        IQPack LLC                                                                Case number (If known)
              Name



43.        Total of Part 7.                                                                                                      $525,165.83
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
           General description                                        Net book value of         Valuation method used    Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Sitma e-wrap 2.0 Machine                                                   $0.00                                       $491,000.00



51.        Total of Part 8.                                                                                                   $491,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                     page 3
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Debtor        IQPack LLC                                                                   Case number (If known)
              Name

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                     Current value of
                                                                                                                     debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

           Hudson Excess Insurance Company                                                                                           $0.00



           Insurance Investment Group                                                                                                $0.00



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Insurance claim against IIG                                                                                          Unknown
           Nature of claim         Contract claim
           Amount requested                      $861,682.95



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                       $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                page 4
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Debtor          IQPack LLC                                                                                          Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $54,675.62

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $6,462.92

82. Accounts receivable. Copy line 12, Part 3.                                                                     $41,124.84

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $525,165.83

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $491,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $1,118,429.21            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,118,429.21




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
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Fill in this information to identify the case:

Debtor name          IQPack LLC

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
       Stock Yards Bank & Trust
2.1                                                                                                                      $450,000.00              $450,000.00
       Company                                      Describe debtor's property that is subject to a lien
       Creditor's Name                              Inventory, accounts, equipment and general
       Clarksville Branch                           intangibles
       1040 East Main Street
       Louisville, KY 40232-2890
       Creditor's mailing address                   Describe the lien
                                                    Commercial Guaranty & Collateral Pledge
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       March 29 2023                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8016
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.         $450,000.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 1
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Fill in this information to identify the case:

Debtor name        IQPack LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $4,589.50        $0.00
          Buckeye Packaging Co, Inc.                          Check all that apply.
          12223 Marlboro Ave                                   Contingent
          Alliance, OH 44601                                   Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              administrative expenses
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $6,733.87        $0.00
          Custom Kraft Pack                                   Check all that apply.
          100 Technology Way Docks 2 & 3                       Contingent
          Jeffersonville, IN 47130                             Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              administrative expenses
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 7
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Debtor       IQPack LLC                                                                                 Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $32,528.87    $0.00
          LADDAWN                                              Check all that apply.
          PO Box 633485                                         Contingent
          Cincinnati, OH 45263                                  Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               administrative expenses
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Accutech Films, Inc.                                                Contingent
          620 Hardin Street                                                   Unliquidated
          Coldwater, OH 45828                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,115.00
          American Arbitration Association                                    Contingent
          120 Broadway 21st Floor                                             Unliquidated
          New York, NY 10271                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          American Excelsior Company                                          Contingent
          850 Ave H. East                                                     Unliquidated
          Arlington, TX 76011                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Arvco Container Corporation                                         Contingent
          845 Gibson St                                                       Unliquidated
          Kalamazoo, MI 49001                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Bluestem                                                            Contingent
          13300 Pioneer Trl                                                   Unliquidated
          Eden Prairie, MN 55347                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 7
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Debtor      IQPack LLC                                                                      Case number (if known)
            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Brecham Group                                              Contingent
         2220 Blackberry Ln                                         Unliquidated
         Conway, AR 72034                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $47,138.20
         Chase                                                      Contingent
         543 Fifth Avenue                                           Unliquidated
         New York, NY 10017                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $12,652.00
         CMC America                                                Contingent
         101 Woodwinds Industrial Ct, Ste T                         Unliquidated
         Cary, NC 27511-6202                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         CMC Italy                                                  Contingent
         06012 CITTA DI CASTELLO                                    Unliquidated
         PERUGIA, ITALY 39 075 851 8006                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,667.18
         Commercial Logistics Corporation                           Contingent
         d/b/a Cornerstone LLC                                      Unliquidated
         PO Box 766                                                 Disputed
         Jeffersonville, IN 47131
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,250.00
         Dentons Bingham Greenebaum LLP                             Contingent
         3500 PNC Tower                                             Unliquidated
         101 South Fifth Street                                     Disputed
         Louisville, KY 40202
                                                                   Basis for the claim: Professional services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $87,384.62
         Doug Jones                                                 Contingent
         12502 Hummingbird Way                                      Unliquidated
         Sellersburg, IN 47172                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Employee Wages/Benefits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 7
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Debtor      IQPack LLC                                                                      Case number (if known)
            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $16,754.91
         Felins                                                     Contingent
         W204N13055 Goldendale Rd Suite 400                         Unliquidated
         Richfield, WI 53076                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Grange Life Insurance Co.                                  Contingent
         671 South High Street                                      Unliquidated
         Columbus, OH 43206                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         H.B. Fuller Company                                        Contingent
         1200 Willow Lake Blvd.                                     Unliquidated
         Saint Paul, MN 55110                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Honorable Charles Barr                                     Contingent
         c/o Central Case Management Center                         Unliquidated
         13727 Noel Road, Suite 1025                                Disputed
         Dallas, TX 75240
                                                                   Basis for the claim: Arbitrator/Professional Fees
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Hudson Insurance Group                                     Contingent
         Attn: Gretchen G. Sayers                                   Unliquidated
         2345 Grand Boulevard, Suite 1150                           Disputed
         Kansas City, MO 64108
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Humana Insurance Company                                   Contingent
         P.O. Box 4600                                              Unliquidated
         Carol Stream, IL 60197                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Independent 2                                              Contingent
         7825 National Turnpike                                     Unliquidated
         Louisville, KY 40214                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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Debtor      IQPack LLC                                                                      Case number (if known)
            Name

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Indiana Attorney General Office                            Contingent
         302 W. Washington Street 5th Floor                         Unliquidated
         Indianapolis, IN 46204                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Indiana Department of Revenue                              Contingent
         100 N. Senate Ave.                                         Unliquidated
          Room N203 - Bankruptcy                                    Disputed
         Indianapolis, IN 46204
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Insperity                                                  Contingent
         19001 CRESCENT SPRINGS DR                                  Unliquidated
         Kingwood, TX 77339-3802                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Internal Revenue Service                                   Contingent
         PO Box 7346                                                Unliquidated
         Philadelphia, PA 19101                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         ISU - Auto Owners Insurance                                Contingent
         7404 Hamilton Ave                                          Unliquidated
         Cincinnati, OH 45231                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         ISU Insurance                                              Contingent
         2684 Charlestown Rd                                        Unliquidated
         New Albany, IN 47150                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $630,538.33
         John Moore                                                 Contingent
         3001 E. Lobo Ridge                                         Unliquidated
         New Albany, IN 47150                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Employee Wages/Benefits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 7
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Debtor      IQPack LLC                                                                      Case number (if known)
            Name

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $43,000.00
         Kenny A. Rohleder                                          Contingent
         2209 Dearing Court                                         Unliquidated
         Louisville, KY 40204                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Employee Wages/Benefits
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Liberty Mutual Insurance                                   Contingent
         P.O. Box 91013                                             Unliquidated
         Chicago, IL 60680                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Mark Smedal, Esq.                                          Contingent
         600 West Main Street, Suite 100                            Unliquidated
         Louisville, KY 40202                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,467.07
         nVENIA                                                     Contingent
         PO box 71948                                               Unliquidated
         Chicago, IL 60694                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $861,682.95
         OBSA Operating Company, LLC                                Contingent
         13300 Pioneer Trl                                          Unliquidated
         Eden Prairie, MN 55347                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $59,785.60
         Pregis                                                     Contingent
         29690 Network Place                                        Unliquidated
         Chicago, IL 60673-1295                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $61,550.25
         Sitma Stretch Film                                         Contingent
         PO Box 827627                                              Unliquidated
         34th Ave. S                                                Disputed
         Philadelphia, PA 19182
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 7
          Case 23-90911-AKM-11                         Doc 1         Filed 09/19/23                EOD 09/19/23 13:01:16                         Pg 22 of 52

Debtor       IQPack LLC                                                                             Case number (if known)
             Name

3.34      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $49,454.25
          Sitma USA, Inc.                                                   Contingent
          8011 34th Avenue South                                            Unliquidated
          Suite 436                                                         Disputed
          Minneapolis, MN 55425
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.35      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $10,380.00
          Strothman                                                         Contingent
          325 Wst Main Street, Suite 1600                                   Unliquidated
          Louisville, KY 40202                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.36      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Vogal Law Firm                                                    Contingent
          218 NP Avenue                                                     Unliquidated
          PO Box 1389                                                       Disputed
          Fargo, ND 58107-1389
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.37      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Vorticode                                                         Contingent
          685 W. Green Street                                               Unliquidated
          Scottsburg, IN 47170                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                        43,852.24
5b. Total claims from Part 2                                                                           5b.    +   $                     1,905,820.36

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,949,672.60




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 7
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Fill in this information to identify the case:

Debtor name        IQPack LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Stocking Agreement
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    American Woodmark Corporation
             List the contract number of any                                        561 Shady Elm Road
                   government contract                                              Winchester, VA 22602


2.2.         State what the contract or           Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    American Woodmark Corporation
             List the contract number of any                                        561 Shady Elm Road
                   government contract                                              Winchester, VA 22602


2.3.         State what the contract or           Commerical Lease
             lease is for and the nature of
             the debtor's interest

                State the term remaining          Month to Month                    Commercial Logistics Corporation
                                                                                    d/b/a Cornerstone
             List the contract number of any                                        PO Box 766
                   government contract                                              Jeffersonville, IN 47131


2.4.         State what the contract or           Bookkeeping services
             lease is for and the nature of
             the debtor's interest

                State the term remaining          3months                           Strothman
                                                                                    300 Missouri Ave
             List the contract number of any                                        Suite 101
                   government contract                                              Jeffersonville, IN 47130




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
        Case 23-90911-AKM-11                 Doc 1       Filed 09/19/23       EOD 09/19/23 13:01:16            Pg 24 of 52
Debtor 1 IQPack LLC                                                              Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.5.      State what the contract or        Business packaging,
          lease is for and the nature of    transportation, labor,
          the debtor's interest             sustainability, and
                                            warehouse
                                            optimization services,
                                            packaging products,
                                            data analytics and
                                            software development.
             State the term remaining
                                                                         Vorticode
          List the contract number of any                                685 W. Green Street
                government contract                                      Scottsburg, IN 47170




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 2
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Fill in this information to identify the case:

Debtor name      IQPack LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    John Moore                  3001 E. Lobo Ridge                                       Stock Yards Bank &              D       2.1
                                      New Albany, IN 47150                                     Trust Company                    E/F
                                                                                                                               G



   2.2    Terry Moore                 3001 E. Lobo Ridge                                       Stock Yards Bank &              D       2.1
                                      New Albany, IN 47150                                     Trust Company                    E/F
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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Fill in this information to identify the case:

Debtor name         IQPack LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For prior year:                                                                  Operating a business                              $2,735,419.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other


      For year before that:                                                            Operating a business                              $1,832,952.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
             See Attached Schedule                                                                        $0.00        Secured debt
                                                                                                                       Unsecured loan repayments
                                                                                                                       Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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Debtor       IQPack LLC                                                                          Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   John Moore                                             March 1,                         $15,000.00           Distribution in lieu of salary
             3001 E. Lobo Ridge                                     2023
             New Albany, IN 47150

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                         Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                          Date action was               Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case               Court or agency's name and                 Status of case
             Case number                                                            address
      7.1.   OBSA Opearting Company,                   Commercial                   American Arbitration                        Pending
             LLC v. IQPack, LLC                        Dispute                      Association                                 On appeal
             01-22-0000-7601                                                        120 Broadway 21st Floor
                                                                                                                                Concluded
                                                                                    New York, NY 10271


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address              Description of the gifts or contributions                  Dates given                            Value


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Debtor        IQPack LLC                                                                          Case number (if known)



Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                   Dates of loss            Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received               If not money, describe any property transferred              Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Dentons Bingham
               Greenebaum LLP
               3500 PNC Tower
               101 South Fifth Street                                                                                  6/28/2023;
               Louisville, KY 40202                                                                                    9/14/2023                 $20,000.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value
      13.1 John Moore
      .    3001 E. Lobo Ridge
              New Albany, IN 47150                     Distribution in lieu of salary                            March 1, 2023                   $15,000.00

              Relationship to debtor
              Managing Member



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Debtor      IQPack LLC                                                                            Case number (if known)



 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                   Last balance
               Address                                  account number             instrument                  closed, sold,                  before closing or
                                                                                                               moved, or                               transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.
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Debtor      IQPack LLC                                                                          Case number (if known)




      None
      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None



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Debtor      IQPack LLC                                                                          Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Strothman
                    325 Wst Main Street, Suite 1600
                    Louisville, KY 40202

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Douglas Jones                           12502 Hummingbird Way                               Member                                        19.00
                                              Sellersburg, IN 47172

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      John Moore                              3001 E. Lobo Ridge                                  Managing Member                               57.00
                                              New Albany, IN 47150

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Terry Moore                             3001 E. Lobo Ridge                                  Member                                        9.50
                                              47150




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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Andrew Benzinger                       718 Sunglow Street                                  Member                                  9.50
                                             Ft Mitchell, KY 41017

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Kenny A. Rohleder                      2209 Dearing Court                                  Member                                  5.00
                                             Louisville, KY 40204



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
      Yes. Identify below.
             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      IQPack LLC                                                                          Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 19, 2023

/s/ Kenny A. Rohleder                                           Kenny A. Rohleder
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member/President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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                                                      United States Bankruptcy Court
                                                              Southern District of Indiana
 In re    IQPack LLC                                                                                              Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Andrew Benzinger                                            Member                9.50
718 Sundglow Street
Ft Mitchell, KY 41017

Douglas Jones                                               Member                19.00
12502 Hummingbird Way
Sellersburg, IN 47172

John Moore                                                  Member                57.00
3001 E. Lobo Ridge
New Albany, IN 47150

Kenny Rohleder                                              Member                5.00
2209 Dearing Court
Louisville, KY 40204

Terry Moore                                                 Member                9.50
3001 E. Lobo Ridge
New Albany, IN 47150


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member/President of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date September 19, 2023                                                  Signature /s/ Kenny A. Rohleder
                                                                                         Kenny A. Rohleder

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                               Verification of Creditor List (rev 12/01/18)
                                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF INDIANA

In re:                                                           )        Case No.
IQPack LLC                                                       )
                                                                 )         Check if this form is submitted with an amended creditor
                                                                 )        list.
                                                      Debtor(s). )

                                               VERIFICATION OF CREDITOR LIST

(I/We) declare under penalty of perjury that all entities included or to be included in Schedules D, E/F, G, and H are listed in the
creditor list submitted with this verification. This includes all creditors, parties to leases and executory contracts, and codebtors.

(I/We) declare that the names and addresses of the listed entities are true and correct to the best of (my/our) knowledge.

(I/We) understand that (I/we) must file an amended creditor list and pay an amendment fee if there are entities listed on (my/our)
schedules that are not included in the creditor list submitted with this verification.

Dated: September 19, 2023                                             /s/ Kenny A. Rohleder
                                                                      Kenny A. Rohleder
                                                                      Signature of Debtor


                                                                      Signature of Joint Debtor

(Note: Certificate of Service not required.)
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                           ACCUTECH FILMS, INC.
                           620 HARDIN STREET
                           COLDWATER, OH 45828




                           AMERICAN ARBITRATION ASSOCIATION
                           120 BROADWAY 21ST FLOOR
                           NEW YORK, NY 10271




                           AMERICAN EXCELSIOR COMPANY
                           850 AVE H. EAST
                           ARLINGTON, TX 76011




                           AMERICAN WOODMARK CORPORATION
                           561 SHADY ELM ROAD
                           WINCHESTER, VA 22602




                           ARVCO CONTAINER CORPORATION
                           845 GIBSON ST
                           KALAMAZOO, MI 49001




                           BLUESTEM
                           13300 PIONEER TRL
                           EDEN PRAIRIE, MN 55347




                           BRECHAM GROUP
                           2220 BLACKBERRY LN
                           CONWAY, AR 72034
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                       BUCKEYE PACKAGING CO, INC.
                       12223 MARLBORO AVE
                       ALLIANCE, OH 44601




                       CHASE
                       543 FIFTH AVENUE
                       NEW YORK, NY 10017




                       CMC AMERICA
                       101 WOODWINDS INDUSTRIAL CT, STE T
                       CARY, NC 27511-6202




                       CMC ITALY
                       06012 CITTA DI CASTELLO
                       PERUGIA, ITALY 39 075 851 8006




                       COMMERCIAL LOGISTICS CORPORATION
                       D/B/A CORNERSTONE LLC
                       PO BOX 766
                       JEFFERSONVILLE, IN 47131




                       CUSTOM KRAFT PACK
                       100 TECHNOLOGY WAY DOCKS 2 & 3
                       JEFFERSONVILLE, IN 47130




                       DENTONS BINGHAM GREENEBAUM LLP
                       3500 PNC TOWER
                       101 SOUTH FIFTH STREET
                       LOUISVILLE, KY 40202
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                       DOUG JONES
                       12502 HUMMINGBIRD WAY
                       SELLERSBURG, IN 47172




                       FELINS
                       W204N13055 GOLDENDALE RD SUITE 400
                       RICHFIELD, WI 53076




                       GRANGE LIFE INSURANCE CO.
                       671 SOUTH HIGH STREET
                       COLUMBUS, OH 43206




                       H.B. FULLER COMPANY
                       1200 WILLOW LAKE BLVD.
                       SAINT PAUL, MN 55110




                       HONORABLE CHARLES BARR
                       C/O CENTRAL CASE MANAGEMENT CENTER
                       13727 NOEL ROAD, SUITE 1025
                       DALLAS, TX 75240




                       HUDSON INSURANCE GROUP
                       ATTN: GRETCHEN G. SAYERS
                       2345 GRAND BOULEVARD, SUITE 1150
                       KANSAS CITY, MO 64108




                       HUMANA INSURANCE COMPANY
                       P.O. BOX 4600
                       CAROL STREAM, IL 60197
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                       INDEPENDENT 2
                       7825 NATIONAL TURNPIKE
                       LOUISVILLE, KY 40214




                       INDIANA ATTORNEY GENERAL OFFICE
                       302 W. WASHINGTON STREET 5TH FLOOR
                       INDIANAPOLIS, IN 46204




                       INDIANA DEPARTMENT OF REVENUE
                       100 N. SENATE AVE.
                        ROOM N203 - BANKRUPTCY
                       INDIANAPOLIS, IN 46204




                       INSPERITY
                       19001 CRESCENT SPRINGS DR
                       KINGWOOD, TX 77339-3802




                       INTERNAL REVENUE SERVICE
                       PO BOX 7346
                       PHILADELPHIA, PA 19101




                       ISU - AUTO OWNERS INSURANCE
                       7404 HAMILTON AVE
                       CINCINNATI, OH 45231




                       ISU INSURANCE
                       2684 CHARLESTOWN RD
                       NEW ALBANY, IN 47150
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                       JOHN MOORE
                       3001 E. LOBO RIDGE
                       NEW ALBANY, IN 47150




                       KENNY A. ROHLEDER
                       2209 DEARING COURT
                       LOUISVILLE, KY 40204




                       LADDAWN
                       PO BOX 633485
                       CINCINNATI, OH 45263




                       LIBERTY MUTUAL INSURANCE
                       P.O. BOX 91013
                       CHICAGO, IL 60680




                       MARK SMEDAL, ESQ.
                       600 WEST MAIN STREET, SUITE 100
                       LOUISVILLE, KY 40202




                       NVENIA
                       PO BOX 71948
                       CHICAGO, IL 60694




                       OBSA OPERATING COMPANY, LLC
                       13300 PIONEER TRL
                       EDEN PRAIRIE, MN 55347
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                       PREGIS
                       29690 NETWORK PLACE
                       CHICAGO, IL 60673-1295




                       SITMA STRETCH FILM
                       PO BOX 827627
                       34TH AVE. S
                       PHILADELPHIA, PA 19182




                       SITMA USA, INC.
                       8011 34TH AVENUE SOUTH
                       SUITE 436
                       MINNEAPOLIS, MN 55425




                       STOCK YARDS BANK & TRUST COMPANY
                       CLARKSVILLE BRANCH
                       1040 EAST MAIN STREET
                       LOUISVILLE, KY 40232-2890




                       STROTHMAN
                       325 WST MAIN STREET, SUITE 1600
                       LOUISVILLE, KY 40202




                       TERRY MOORE
                       3001 E. LOBO RIDGE
                       NEW ALBANY, IN 47150




                       VOGAL LAW FIRM
                       218 NP AVENUE
                       PO BOX 1389
                       FARGO, ND 58107-1389
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                       VORTICODE
                       685 W. GREEN STREET
                       SCOTTSBURG, IN 47170
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                                         United States Bankruptcy Court
                                                Southern District of Indiana
 In re   IQPack LLC                                                                   Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for IQPack LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




September 19, 2023                              /s/ April A. Wimberg
Date                                            April A. Wimberg
                                                Signature of Attorney or Litigant
                                                Counsel for IQPack LLC
                                                Dentons Bingham Greenebaum
                                                3500 PNC Tower
                                                101 South Fifth Street
                                                Louisville, KY 40202
                                                (502) 587-3719 Fax:(502) 540-2135
                                                april.wimberg@dentons.com
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